   Case 1:16-cv-00590-JJM-PAS Document 1-1 Filed 10/26/16 Page 1 of 10 PageID #: 5




          STATE OF RHODEISLAND AND                                                      PROVIDENCE PLANTAT10NS


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                                                                  SUMMONS

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Alison Frlgon                                                          ■
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Defendant
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indicated above. You                                                                                       s attorney, whose
address is listed above,                                                                                   within twenty 20)
days after service of tltis

    If   you fail to do          so,                                                                                     in the
complaint.

    As provided in Rule 13(a) of ihe;                                                                  the relief demanded    in
the complaint is for damage arising                                                          opemtion, or control of a motor
vehicle, or unless otherwise provided in                                                   state as a counterclaim auy related
claim whioh you may have against the Plaintiff, or                                       be barred from making such claim in
any other action.

Tlris Summons was generated on511612016.                                  /s/HcⅢ y Kinch
                                                                          Clerk


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Providcnce/Bristol
250 Benent street
Providence R1 02903




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the complaint is for damage arising                                                     or control of a motor
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claim which you may have against ihe Plainti                            be btured ftom making such claim in
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           rnanager'.
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         Name of person and designation
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         as noted below,




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                 STATE OF RHODE ISLAND                                                                 StIPERIOR COURT
                 PROヽ 嘔DENCE,SC.


                 ALISON FRIGON

                 V.                                                                   C.A NO.:PC-2016‐ スalC

                 THUNDERMIST IIEALTH CE卜                    ER;
                 MEGAN MmttT,cNM,AInS;
                                   「
                 AndIOHN DOE,ALIAS


                                                                    COMPLAINT
                                                                 Common Allcga● onS

                      l PIahit AHSON FRIGON(heremaftOr known as“                      plalnttff'),at an tilnes matcHal and


                           relcvant hcrcto,is an aduL indlvidual and a rcsidont oftllc City ofPa￢ mckct,County of

                           Providcnce,State ofRhode lsland

                      2. Defendant,mDERⅣ IST HEALⅢ                         CET∬ ER eCreinlftcrknown as

                           “Thund面 sr),upOn mmmatlon and belicfis a domestic non―poflt colporatlon,

                            organizcd allld exising ulld∝ the laws of tlle State OfRhodc lsland,with a prlnclllal placc


                            ofbushess at 191 Social Strect,Woonsoolcct,Rhode lsland At all tllncs rclevallt and

                           materlal horeto,山 ЮdefetFldallt Thu■ demist acted tluollgh its agcnts,sClwants,and

                            employccs.

                      3 Defendanち NIEGAN MCKAnヽ ,C.N.M,′ CLム S eCClllanel lKnown as“ McICaln,

                            CN.M"),お         a cc■ 1■ cd nwse―   mb腱 fe wllo at all thes relevant h∝   cto was liccttcd t0


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                            matげ ial alld lelevant hercto hcld hcrsclf out to bc a pЮ icicnt and qualiflcd alld
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                            posscssing Sは 1l alld carc in thosc lnedical scrviCes that shc adimnistercd md provided to

                            pl狙   nII
                                                                                                  on
                       4.Defendant,JOIIN DOE,ALIAS(hcreinatcr kllowll as“ John Doc'),llpOn mfoml菫
                                                                                                                 on or
                            and behcfis a cittzcn and resident of tllC Statc of Rhodc lsland or a corpora■


                            busincss or insllrancc company authorizcd tO do bllsincss and doing busincss h thC Statc

                                                                                                                         nt
                            ofRhodclslandandistllclcforcsubJccttOttjwisdicionoftbiscotlrt Tttdcfen“

                            ohn Doo,is nancd as thC palty pursuanttO SCCtion 9‐ 5-20 0ftllc R I.G L ThC tuC nalnc
                            」

                            ofthe defendant is llnknown tO thepldntlffand is bclng nallled a defendant by sttd

                            ictittous name.Plainirwill scek lcave to amelld hcl complaitlt to statc defcndant,John

                            Doc's,true name vrhen sudh has been asCertailled,


                       5 Upon hlonnaion and beliet at alltll■ es mateHal and relevallt hcloto,MoKJn,C.NM.

                            was employcd by or was an elnployee,agolt,o伍 CCr,∝
                                                                                        pl■ llclpa1   0f defendallt


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                            Lulldel・ Inist MCKttn,C.N`M ttcated plalntif at Thund∝

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                        6.Thc llllollCtaり sum in contlov∝ Sy is sufflcient to oStab■


                            Honorablo Court

                                                                  COUNTI
                                                       Nedigence aS tO ThundermiSt

                        7. PIailltiffh∝ eby repeats and reallcgcs tllc allegations colltained in PararaphS i tlllough 6

                             ofthls Complaint as thougL samc wCrc set foltll f■   llly and at lolagth hCrein


                        8. On or about May 16,2013,Thunderlnlst undcl10ok fOr valuablc consideratlon to provide

                             ■ledlcal care m plaintffat tt medlcal facilitics

                        9    ■thell and thcrc/became tllc dllty ofThulldcllllist,by and ttough lts agcnts,sCrvm送 ,Or

                             cmployccs,to ox∝ clsc duc cale and thc dcgrcc ofcalc and sldithat、 vas cxpccted Of



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                                                                                          aoting ifl the same or
                           reasonably competent modical cale providers in the same class'

                           similar circumstances'

                      10. Nevertheless, Thundennist, by and       tlrough its agents, seryants, or employees, acted

                           negligenflyantlfailedtoexetcisetherequisitedegroeofcareantlslrill,therebycausing

                           plainliff to suffer   and beoome afflioted   with sevore personal iujudes' pain and suflering

                           and other damages as hereinafter specified'

                      ll.AsadirectandproximateresultofthenegligenceofThundermist,plaintiffwasswerely

                           andpermanentlyinjured,hassufferedandinthefuturowitlcontinuetosufferalossof

                           enjoyrnent of life, has been unable and      will continue to be unable to perfom        her usual


                                                                                               physical pain' has suffered
                           daily aotivities, has suffere<i ald will in the future suffer groat

                           lossofwagesandhasexpencledandwillinthefuturebecomeliabletopaylargesutnsof

                           moneyformodicalandhospitalattention,andisotlrerwisepermanerrtlyinjured.
                                                                         judgment against deferdant'
                           WIIEREFORE, plaintiff, ALISON FRIGON, demands

                 THIn{DERMISTIIEALTI{CEI{TER,forcompensatorydamagesinanamountsrrfficientto
                                                                              fees' interost and costs'
                 invoke thojurisdiction ofthis Court, plus roasonable aitomey

                                                                   COUNT       II
                                                       Neglisence as to   Mclkin' C'N'M

                       12.Plairrtiffhelebylepeatsandrc-allegestheallegatiorucontainedinParagraphslthough6

                            of   tlis Complaint as though   samc were set forth     fully and   at length herein'


                       13.onoraboutMayl6,20l3,McKail,C.N,M.undertookforvaluableconsiderationto

                            provido nedical care to plaintiff at Thundermist
                                                                          ●Ｄ
            Case 1:16-cv-00590-JJM-PAS Document 1-1 Filed 10/26/16 Page 8 of 10 PageID #: 12
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                     14.    It thon and there became the duty of McKain, c.N.M. to exeroise due cme and the degree

                            of care and skill that was oxpectsd of rcasonably competent pfactitionefs in the sanle

                            olass to which she bolongs, aoting in the same or similar circurnstances'

                     15. Nevertheless,         Mcl(ain, C.N.M' was negiigent by failing to exercise tlre requisite degree

                            of care and skill in her treatment ofplailtiff, thereby causing plaintiff to suffer and

                            become afflictecl with severe personal injuries, pain and suffering and other damage
                                                                                                                 as


                            hereinafter specified.

                     16. As a direct and proximate resuit of the oegligenco of McKain,             C'N'M'' plaintiff was

                            severely and permanently injured, has suffered and in the future         will continue to suffer    a


                            loss of   doyment of life,    has been unable and     will contifue to be unable to perform her

                            usual daily activities, has suffered and    will   irr the future suffer great physical pain, has

                                                                                                        to pay large
                            suffered loss ofwages and has expended and wili iu the future become liable

                                                                                               permanently injured.
                            sums of money for medical and hospital attention, and is otherwise

                            W}IEREFoRE, plaintiff, ALIsoN FRIGoN, demands judgment agairrst defendant,

                hdEGANMCKAIN,C.N.M.,ALIAS,forcompensatorydamagesinaaamountsufficientto
                                                                                              and costs.
                invoke the jurisdiction of this courl, plus reasonable attomey fees, interest

                                                                    COUNTIII

                                                            Neelisencs as to Jqhn Doe

                            Plaintiff hereby repeats and re-alleges the allegations contained in Paragraphs I thlough
                                                                                                                      6
                      17.

                            of this Complaint      as though same   wele set forth fully and at length herein'

                                                                                                  to provide
                      18. On or about M ay L6,2013, John Doe undertook for valuable consideration

                            medical care to plaintiff at its medical facilities    .




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            Case 1:16-cv-00590-JJM-PAS Document 1-1 Filed 10/26/16 Page 9 of 10 PageID #: 13
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      “
                     19.It tcn alld thcre becamc thc duty of」 01m          Doe,andby alldthrott JOhDoc's ag∝ ts,

                          scrvallts,or employecs,to cxCrcise thc dOgree OfCare and skIIl that was OXpccted of

                          roasonably competent mediCal Care pЮ 宙dCrs alld or mcdlcal practtioners in thc same

                          chss,ading ln the sallle or Sm■ ar clrculllstances

                                                                                                       ed
                     20 Ncvcrmclcss,John Doe,and by and through itS agcnts,selwallお ,or elllployecs,a“

                          llcgligently and failod to excrdse the rcquisiに       dcglec ofcarc alld Sk■ ,thereby causing


                          pla■ ltiffto    surcr and bcconlc afttcted wi■ SCVolepcrsonal itturies,paln and Suffcring


                          and otha dalmages as hcreina■ cr spedied

                     21 As a direCt alld prOximato result Ofthc negligence of」
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                           loss ofwages andhas expended and willin tlle tture become liablc to pay largo sums Of

                           llrloney for lnedlcal and hoSpitd attentionJ and iS Omen″
                                                                                         isepCllnallelltlyLdu“ d



                             '呻 0鴫             plaillitt ALISON FRIGON,delllalldsjudE口          cllt against defendallt,
                           恥

                  JOHNDOE,ALIAS,for compensatory damages h an mui sufficientto invoke the

                  jwttdiction oflllヽ Cout plus lCasonable attoluey fces,interest and costs

                                                                     COUNTIV


                                                                                            in Paragraphs          I through
                      22. piaintiffhereby repeats antl re-alleges the allegations contained

                           21 of this Compiaint      as   though same were set forth fuliy and at length herein'

                                                                  ofthejoint   and several acts ofnegligence of each and   all
                      23. As a direct and proximate cause

                                                                                                  injured, has
                           of the defendants named heroin, plaintiff was severely and permanently
           Case 1:16-cv-00590-JJM-PAS Document 1-1 Filed 10/26/16 Page 10 of 10 PageID #: 14
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                           suffered and in the future      will continue to suffcr a Ioss of enjoyment of life,   has been


                           unable and      will continue   !o be unablo to perform hor usual daily activities' has suffered

                           and   will   in the future suffor great physical pain, has suffered loss ofwages and has

                           oxpendedatrdwillinthefuturebeoomoliablotopaylargesumsofmolreyformedical

                           and hospital attention, and is otherwise permanently injured'

                           wHEREFORE, plaintiff, AIISON FRIGON, demaflds judgrnent against each and all of

                  the dofendants narned hercin,      jointiy aud sovomlly, for componsatory damages in        an amount

                                                                                                            and
                  sufficisnt to invoke the jurisdiction ofthis Cour! plus reasouable attomey fees, interest

                  costs.

                                    PLAINTIFF DEMANDS A TRIAL BY JURY ON ALI,COIINTS
                                                AND ISSUES STATED IIEREIN

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                                                                                       Josclph J.Voocola,Esq atld Assoc.
                                                                                       454 BЮ adway
                                                                                       Providcncc,R102909
                                                                                       Te1 401‐ 751‐ 3900
                                                                                       Fax 401‐ 751-8983



                      Dated:          May 16,2016




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